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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

KEVIN PETER WARD and JENNIFER
NAMCHI VU, individually and on behalf of all
others similarly situated ,                              Case No. 6:15-CV-00336-CEM-JSS
              Plaintiffs,

vs.

LOANDEPOT.COM, LLC.,

              Defendant
                                                  /

                                NOTICE OF SETTLEMENT

       Plaintiffs, KEVIN PETER WARD and JENNIFER NAMCHI VU, and Defendant,

LOANDEPOT.COM, LLC., hereby give notice that the parties have reached a settlement with

regard to this case and are presently drafting, finalizing, and executing the settlement and

dismissal documents. Upon execution of the same, the parties will file the appropriate dismissal

documents with the Court.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 21, 2015, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

the following:

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